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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL MDL No. 146
INDUSTRY AVERAGE

WHOLESALE PRICE LITIGATION CIVIL ACTION: 01-CV-12257 PBS

Judge Patti B. Saris
THIS DOCUMENT RELATES TO
ALL CLASS ACTIONS Chief Magistrate Judge

Marianne B. Bowler

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DECLARATION OF PETER K. HUSTON IN SUPPORT OF OPPOSITION OF
MCKESSON CORPORATION TO PLAINTIFFS MOTION TO COMPEL THE
PRODUCTION OF DOCUMENTS

Peter K. Huston declares:

1. {am an attorney admitted into practice before the courts of the State of
California. Iam a partner in the litigation department of the San Francisco office of
Latham & Watkins, L.L.P. I make the statements in this declaration of my own
knowledge.

2. I was retained by McKesson Corporation ("McKesson") to respond to a
February 16, 2004, subpoena with which McKesson had been served. In response to that
subpoena, on March 15, 2004, I sent a letter making objections under F.R. Civ. P. 45 to
the mdicated addressee, Elizabeth Fegan Hartwig, Esquire. Ms. Hartwig had previously
granted an extension to that date.

3. Subsequently I spoke with Ms. Hartwig, who indicated that it was possibile

that plaintiffs would revise the subpoena and that I should not take any action until she

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contacted me.

4. I heard nothing further until May 6, 2004, when | received a letter from Ms.
Hartwig enclosing an Amended Subpoena to McKesson Corporation and inquiring
whether 1 would accept service on behalf of McKesson. A true copy is attached hereto as
Exhibit A. By this time, I was aware ofa potential conflict of interest that would prevent
me from representing McKesson Corporation. Therefore, I never advised Ms. Hartwig
that I would accept service of the subpoena.

5. On or about June 11, 2004, I was called by Scott George, Esquire, another
of plaintiffs’ attorneys. Mr. George inquired about the Amended Subpoena. [ indicated
that the subpoena had never been served and that I would be unable to represent
McKesson with respect to the subpoena due to a conflict of interest. Mr. George
informed me that the Amended Subpoena was identical except for an expanded list of
identified drugs. Mr. George agreed that my previous objection letter would apply to the
amended subpoena as well. Additionally, I gave Mr. George the telephone number of
Kimbir Tate, who is the paralegal in the McKesson Corporation Law Department who
handles document production.

6. On or about June 16, 2004, I sent the letter attached hereto as Exhibit B to
Mr. George, confirming the matters we had discussed over the telephone. Exhibit B

accurately reflects the events of that conversation.
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I declare the foregoing to be true under penalty of perjury under the laws of the
State of California, and that this declaration was signed at San Francisco, California on

September 3 , 2004.

fe f—

“Peter K. Huston

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EXHIBIT A
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THE| WEXLER] FIRM"?

May 5, 2004

VIA FEDERAL EXPRESS

Peter K. Huston

Latham & Watkins LLP

505 Montgomery St., Suite 1900
San Francisco, CA 94111-2562

RE: Jn re: Pharmaceutical Industry Average Wholesale Price Litigation, MDL
No. 1456

Dear Mr. Huston:

Enclosed please find an Amended Subpoena to your client McKesson Corporation. The
only amendment to the subpoena is a revised list of drugs set forth in Exhibit A, pursuant
to certain recent rulings by the Court in the above case. Please advise by the close of

business Friday, May 7, 2004 whether you will accept service on behalf of your client.

We appreciate your anticipated professional courtesy.

Very truly yours,
Ehzabeth Fegan HartWeg
EFH:lyr

Enclosure

cc! Kenneth A. Wexler
Anthony J. Sievert

Contact Information: Elizabeth Fegan Hartweg One North LaSalle Strect 312 346 2222
312 261 6191 Direct Dial Suite 2000 312 346 0022 fax
efhartweqg@wexlerfirm.com Chicago, Illinois 60602 www.wexlerfirm.com

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EXHIBIT B
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505 Montgomery Street, Suite 1900
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June 16, 2004 Hong Kong San Diego
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Scott George, Esa. Moscow Tokyo

Sheller, Ludwig & Badey P.C. Washington, D.C.

1528 Walnut Street, Third Floor
Philadelphia, Pennsylvania 19102

File No. 021532-0025

Re: In re: Pharmaceutical Industry Average Wholesale Price Litigation, MDL No.
1456

Dear Mr. George:

This will confirm our discussion of last week regarding the May 5, 2004 subpoena to
McKesson in the above-referenced case. We are trying to track down whether McKesson was
ever formally served with this subpoena. In any event, you indicated that the subpoena was
identical to the previous subpoena served on McKesson with the exception of a revised list of
drugs in Exhibit A. You agreed that the objection letter that McKesson’s sent in response to the
previous subpoena would suffice for purposes of the May 5 subpoena. As. mentioned to you, I
will be unable to represent McKesson with respect to this subpoena due to a conflict. This
morning I left you a telephone message letting you know that until McKesson retains outside
counsel I suggest you address inquiries about the subpoena to Kimbir Tate in the McKesson Law
Department. If you have any questions please do not hesitate to contact me.

Peter K. Huston
of LATHAM & WATKINS LLP

cc: Kimbir Tate

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